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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION
                         _____________________________________


STATE OF TEXAS,

        Plaintiff,

v.                                                Civil Action No. 4:21-CV-579-P

JOSEPH R. BIDEN, JR. et al.,

        Defendants.

                                JOINT STATUS REPORT

        With respect to the CDC’s March 11 order, the State of Texas believes that it

continues, rather than reopens and reconsiders, the Defendants’ last decision and that it

therefore does not affect the litigation. See Texas v. Biden, 20 F.4th 928, 954–57 (5th Cir.

2021). The Defendants believe that the March 11 order superseded CDC’s previous

orders, therefore mooting Texas’s claims regarding unaccompanied minors, which are

based on the now-superseded July 2021 and August 2021 orders. See ECF 101 at 3.

        With respect to remaining issues and next steps in this litigation, the parties note

that the latest of CDC’s recurring 60-day reviews to reassess whether the August 2021

Title 42 order remains necessary is scheduled to end on March 30, 2022. Given the

proximity of that date and the likelihood that whatever decision CDC makes will affect

this litigation, the parties propose that any pending deadlines in this action be stayed and

that the parties file a new joint status report on or before April 6, 2022, to propose next

steps in this case.


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 Respectfully submitted,

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                                   Certificate of Service

        On March 18, 2022, I filed this Joint Status Report with the Court through its

CM/ECF system, which automatically serves it upon all counsel of record.

                                                 /s/ Leif A. Olson




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